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  RATTET PLLC
  Proposed Attorney for Debtor
  Robert L. Rattet, Esq.
  202 Mamaroneck Avenue
  Suite 300
  White Plains, New York 10601
  914.381.7400

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

      ----------------------------------                 x
      In re
                                                         :   Chapter 11
      EMC Bronxville Metropolitan LLC,                   :   Case No.: 18−22963−rdd
                                                         :
                           Debtor.
      ----------------------------------                 x

                        SECOND APPLICATION FOR AN ORDER
                  FOR FILING SCHEDULES OF ASSETS AND LIABILITIES
                       AND STATEMENT OF FINANCIAL AFFAIRS

  TO:      THE HONORABLE ROBERT D. DRAIN,
           UNITED STATES BANKRUPTCY JUDGE:

           EMC Bronxville Metropolitan LLC, the above-captioned debtor and debtor-in-

  possession (the "Debtor"), by its proposed attorneys, Rattet PLLC hereby submit this

  application (the "Application") for entry of an order extending the Debtor's time to file

  Schedules of Assets and Liabilities and Statement of Financial Affairs (collectively, the

  "Schedules"). In support of this Application, the Debtor respectfully states as follows:

                                          Jurisdiction

           1.     The Court has jurisdiction over this Application under 28 U.S.C. §§ 157

  and1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

  Venue of this proceeding and this Application in this District is proper under 28 U.S.C. §§

  1408 and 1409.
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  Second Application and Order Extending Time to File Schedules.docx 
   
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         2.      The statutory bases for the relief requested herein are §§ 521 of Title 11 of

  the United States Code, 11 U.S.C. §§101, et seq. (the "Bankruptcy Code") and Rule 1007

  of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

                                         Background

         3.      On June 22, 2018 (the "Filing Date"), an involuntary petition was filed

  against the Debtor.

         4.      At the Debtor’s request, on July 23, 2018 the Court converted this case to a

  case under Chapter 11, see 11 U.S.C. §706(a) and Fed. R. Bankr. P. 1017(f). The

  conversion to Chapter 11 constituted the consent to the entry of an Order for Relief

  pursuant to Chapter 11 of the Bankruptcy Code.

         5.      The Debtor has continued in possession of their business and management

  of their business affairs pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

         6.      No Trustee, Examiner or Creditors' Committee has been heretofore

  appointed in this proceeding.

         7.      The Debtor has been in the business of owning and operating a building

  located at 759 Palmer Road, Bronxville, New York 10708.

                                    RELIEF REQUESTED

         8.      The Debtor previously sought and obtained an Order extending time to file

  scheduled through and including September 6, 2018

         9.      On or about July 27, 2018 the Debtor’s construction trailer at the Debtor’s

  759 Palmer Road, Bronxville, New York premises (the “Premises”) was apparently broken




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  into and certain computer equipment containing information relating to the Debtor’s assets

  and liabilities was removed.

         10.     Without access to the Debtor’s computers, the schedules filed by the Debtor

  will, by necessity be incomplete.

         11.     On September 5, 2018 Rattet PLLC moved to be relieved as Debtor’s

  counsel. (ECF Nos. 27-29, 32).

         12.     Applicant is required to take such steps as possible to minimize prejudice to

  the Estate and its client occasioned by a motion to be relieved as counsel.

         13.     A copy of the Proposed Order is annexed hereto.

         14.     Except as set forth above, no prior request for the relief sought herein has

  been made heretofore.

         WHEREFORE, the Debtor respectfully request that the Court enter the pre-fixed

  Order extending to and until September 30, 2018, the date by which the Debtor’s

  Statement of Financial Affairs and Schedule of Assets and Liabilities must be filed herein,

  and for such other and further relief as is just and proper under the circumstances.

  Dated: White Plains, New York
         September 7, 2018

                                                RATTET PLLC
                                                Proposed Attorneys for Debtor


                                                By:    /s/ Robert L. Rattet
                                                      Robert L. Rattet
                                                202 Mamaroneck Avenue
                                                Suite 300
                                                White Plains, New York 10601
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

      ----------------------------------               x
      In re
                                                       :   Chapter 1
      EMC Bronxville Metropolitan LLC,                 :   Case No.: 18−22963−rdd
                                                       :
                              Debtor.
      ----------------------------------               x

                        ORDER EXTENDING TIME FOR FILING
                       SCHEDULES OF ASSETS AND LIABILITIES
                       AND STATEMENT OF FINANCIAL AFFAIRS

           UPON reading and consideration of the application of EMC Bronxville

  Metropolitan LLC, the above-captioned debtor and debtor-in-possession (the "Debtor"),

  by its proposed attorneys, Rattet PLLC, for an Order extending the time within which said

  Debtor must file its Schedule of Assets and Liabilities and Statement of Financial Affairs,

  and the Court being satisfied that cause exists for the granting of said application and the

  entry of this Order, the Court being further satisfied that no purpose would be served by

  any further notice or hearing on said application, and good cause appearing, it is hereby




   
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         ORDERED, that the Debtor is granted until September 30, 2018 to file its

  Schedules of Assets and Liabilities and Statement of Financial Affairs.

  Dated: White Plains, New York
         September __, 2018


                                               _________________________________________
                                               HONORABLE ROBERT D. DRAIN
                                               UNITED STATES BANKRUPTCY JUDGE




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